              Case 2:19-mj-00067-EJY Document 23 Filed 07/09/20 Page 1 of 2



 1   W. MICHAEL HORVATH, ESQ.
     Nevada Bar No. 14545
 2   815 South Casino Center Blvd.
     Las Vegas, Nevada 89101-6718
     702-474-4222
 3   Attorney for John Anthony Lukasik
     emagana@draskovich.com
 4   mhorvath.law@gmail.com
                              UNITED STATES DISTRICT COURT
 5
                                       DISTRICT OF NEVADA
 6
     UNITED STATES OF AMERICA,                    )       Case No.: 2:19-mj-00067-EJY
 7
                Plaintiff,                        )
                                                  )
 8                                                )       STIPULATION AND ORDER
                                                  )
 9   vs.
                                                  )
                                                  )
10                                                )
                                                  )
11   JOHN ANTHONY LUKASIK,                        )
                 Defendant.                       )
12   ____________________________________         )


13          Defendant, John Lukasik, by and through his attorney of record, W. Michael Horvath,

14   Esq., and Plaintiff United States of America, by and through NICHOLAS A. TRUTANICH,

15   United States Attorney, and Rachel Kent, Special Assistant United States Attorney, stipulate

16   that Defendant has complied with all of the court ordered requirements and pursuant to the plea

17   agreement the charge of Operating a Motor Vehicle while Under the Influence of Alcohol, a

18   violation of 36 C.F.R. § 4.23(a)(1), a Class B misdemeanor, should be amended to the charge of

19   Reckless Driving, a violation of 18 U.S.C. 13 and N.R.S. 484B.653 and the original sentence in

20   this matter applied to the amended plea.

21          RESPECTFULLY SUBMITTED this 9th day of July, 2020.

22                                               /s/ Rachel Kent
                                                 RACHEL KENT
23                                               Special Assistant United States Attorney

24                                               By: /s/ W. Michael Horvath, Esq._____
                                                 W. MICHAEL HORVATH, Esq.
                                                 Counsel for defendant Upham

                                                      1
               Case 2:19-mj-00067-EJY Document 23 Filed 07/09/20 Page 2 of 2



 1                             UNITED STATES DISTRICT COURT

 2                                    DISTRICT OF NEVADA

 3                                                        Case No.: 2:19-mj-00067-EJY
     UNITED STATES OF AMERICA,                    )
                Plaintiff,                        )
 4                                                )
                                                  )       ORDER
 5                                                )
     vs.
                                                  )
 6                                                )
                                                  )
 7                                                )
     JOHN ALEXANDER LUKASIK,                      )
                 Defendant.                       )
 8
     ____________________________________         )

 9
            Based on the stipulation of the parties, and good cause appearing therefore, the Court
10
     hereby finds that:
11
            The Defendant has complied with all of the court ordered requirements and pursuant to
12
     the plea agreement the charge of Operating a Motor Vehicle while Under the Influence of
13
     Alcohol, a violation of 36 C.F.R. § 4.23(a)(1), a Class B misdemeanor, is amended to the
14
     charge of Reckless Driving, a violation of 18 U.S.C. 13 and N.R.S. 484B.653.
15
                                            IT IS SO ORDERED this 9th day July, 2020.
16

17
                                               ________________________________________
                                               UNITED STATES MAGISTRATE JUDGE
18

19
     Respectfully Submitted by:
20

21
     /s/ W. Michael Horvath
     ______________________________
22
     W. MICHAEL HORVATH, ESQ.
     Nevada Bar No. 14545
23
     Attorney for John Alexander Lukasik
24


                                                      2
